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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

                                  Eastern Division

PENNYMAC LOAN SERVICES, LLC,                     CIVIL ACTION
                                                 Case No: 2:19-cv-00193-KS-MTP
                          Plaintiff,

        -vs-
                                                 APPLICATION TO CLERK
SITCOMM ARBITRATION                              FOR ENTRY OF DEFAULT
ASSOCIATION, MARK MOFFETT,                       RE: SITCOMM
SANDRA GOULETTE, RONNIE                          ARBITRATION
KAHAPEA, MARK JOHNSON, KIRK                      ASSOCIATION AND
GIBBS, and ALARIC SCOTT,                         SUPPORTING AFFIDAVIT

                          Defendants.


 APPLICATION TO CLERK FOR ENTRY OF DEFAULT RE: SITCOMM
   ARBITRATION ASSOCIATION AND SUPPORTING AFFIDAVIT

        The Clerk is requested to enter default against defendant Sitcomm

Arbitration Association (“Defendant”) in the above entitled action for failure to

otherwise defend this matter as set forth in the affidavit attached hereto as Exhibit

“1”.

 Dated:        January 31, 2020

                                           Respectfully submitted,


                                        /s/Cheryl S. Chang
                                        Cheryl S. Chang (admitted pro hac vice)
                                        Nicole Bartz Metral (admitted pro hac vice)
                                        Jessica A. McElroy (admitted pro hac vice)
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                              BLANK ROME LLP
                              2029 Century Park East, 6th Floor
                              Los Angeles, California 90067-2907
                              Telephone: 424.239.3400
                              Facsimile: 424.239.3434

                              Harris F. Powers III
                              Steven C. Cookston

                              Upshaw, Williams, Biggers & Beckham,
                              LLP
                              309 Fulton Street
                              Post Office Drawer 8230
                              Greenwood, MS 38935-8230
                              Telephone No.: 662-455-1613

                              Counsel for Plaintiff
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                         Exhibit 1
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                     AFFIDAVIT OF CHERYL S. CHANG


STATE OF CALIFORNIA
COUNTY OF LOS ANGELES
      Cheryl S. Chang (“Chang”) being fully sworn, deposed, and says:

      1.     That she is one of the attorneys of record for plaintiff PennyMac Loan
Services, LLC (“PennyMac”) and has personal knowledge of the facts set forth in
this Affidavit.
      2.     That defendant Sitcomm Arbitration Association’s (“Defendant”)
agent for service of process was duly served with a Summons and Complaint on
December 23, 2019, according to the Summons and Proof of Service attached
hereto and incorporated herein as Exhibit A.
      3.     That more than 21 days have elapsed since the date of service of
process.
      4.     That Defendant has failed to answer or file some other appropriate
pleading with the United States District Court for the Southern District of
Mississippi, Eastern Division, in response to PennyMac’s Complaint, or serve a
copy of any answer or other defense which it might have upon the undersigned
attorney of record for PennyMac.
      5.     That this Affidavit is executed by affiant herein in accordance with
Rule 55(a) of the Federal Rules of Civil Procedure, for the purpose of enabling
PennyMac to obtain an entry of default against Defendant for failure to answer or
otherwise defend as to PennyMac’s Complaint.
       Executed this 31st day of January, 2020, at Los Angeles, California.

                                       /s/ Cheryl S. Chang
                                       Cheryl S. Chang
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                        Exhibit A
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                             PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
      I am employed in the county of Los Angeles, State of California. I am over
the age of 18 and not a party to the within action; my business address is BLANK
ROME LLP, 2029 Century Park East, 6th Floor, Los Angeles, California 90067.
      On January 31, 2020, I served the foregoing document(s):

 APPLICATION TO CLERK FOR ENTRY OF DEFAULT RE: SITCOMM
   ARBITRATION ASSOCIATION AND SUPPORTING AFFIDAVIT

      on the interested parties in this action addressed and sent as follows:

                      SEE ATTACHED SERVICE LIST

  BY ENVELOPE: by placing  the original  a true copy thereof enclosed
     in sealed envelope(s) addressed as indicated and delivering such envelope(s):
  BY MAIL: I caused such envelope(s) to be deposited in the mail at Los
     Angeles, California with postage thereon fully prepaid to the office or home of
     the addressee(s) as indicated. I am “readily familiar” with this firm’s practice
     of collection and processing documents for mailing. It is deposited with the
     U.S. Postal Service on that same day, with postage fully prepaid, in the
     ordinary course of business. I am aware that on motion of party served,
     service is presumed invalid if postal cancellation date or postage meter date is
     more than one day after the date of deposit for mailing in affidavit.
  FEDERAL: I declare that I am employed in the office of a member of the bar
     of this court at whose direction service was made.

      Executed on January 31, 2020, at Los Angeles, California.

                                             /s/ Hannah No
                                             Hannah No
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                            SERVICE LIST
   Pennymac Loan Services, LLC v. Sitcomm Arbitration Association, et al.;
                   Case No. 2:19-cv-00193-KS-MTP
Sitcomm Arbitration Association        Defendant
c/o Wyoming Registered Agent
1621 Central Ave
Cheyenne, WY 82001 USA

Ronnie Kahapea                         Defendant
11-2808 Kaleponi Drive
Volcano, HI 96785

Mark Johnson                           Defendant
451 May Lane
Louisa, VA 23093

Kirk Gibbs                             Defendant
4041 Liberty Hill Drive
Norcross, GA 30093

Alaric Scott                           Defendant
304 S. Jones Blvd., Ste. 1967
Las Vegas, NV 89107

Sandra Goulette                        Defendant
3007 Crescent Hill Drive
Laurel, MS 39440

Mark Moffett                           Defendant
3007 Crescent Hill Drive
Laurel, MS 39440
